                                       Case 3:20-cv-08103-WHA Document 330 Filed 04/14/22 Page 1 of 1




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                   8

                                   9

                                  10   MASTEROBJECTS, INC.,
                                  11                  Plaintiff,                             No. C 20-08103 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   AMAZON.COM, INC,                                      REQUEST FOR RESPONSE RE
                                                                                             SELECTIVE WAIVER
                                  14                  Defendant.

                                  15

                                  16

                                  17        By 5:00 P.M. TODAY, Amazon shall provide an update concerning whether any issue

                                  18   continues to exist concerning selective waiver, and, if so, state specifically what the issue is

                                  19   and the specific documents that are still being withheld.

                                  20        IT IS SO ORDERED.

                                  21

                                  22   Dated: April 14, 2022.

                                  23

                                  24
                                                                                               WILLIAM ALSUP
                                  25                                                           UNITED STATES DISTRICT JUDGE
                                  26
                                  27

                                  28
